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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA

vs.                                                    NO. 4:12CR00014-011 SWW

RICHARD HAWKINS


                                              ORDER

       The above entitled cause came on for hearing February 27, 2014 on the government’s motion

to revoke the probation previously granted this defendant in the United States District Court for the

Eastern District of Arkansas. Based on the admissions made on the record, the Court found that the

defendant has violated the conditions of probation without just cause. However, the Court has

determined that defendant’s probation should not be revoked at this time but instead will modify the

conditions of his probation.

       IT IS THEREFORE ORDERED that defendant’s term of probation shall be modified to

include the following special condition:

       1.      Defendant shall serve a period of FIVE (5) MONTHS in home
               detention with location monitoring under the supervision and
               guidance of the U. S. Probation Office. The cost of such monitoring
               is to be paid by the defendant as directed by the U. S. Probation
               Office. Defendant must pay to have a land line telephone installed in
               the home where he resides as soon as possible.

       All other conditions of defendant’s probation previously imposed shall continue and remain

in full force and effect until the expiration of his term of probation.

       The Court reminds defendant that any further violation of the terms of his probation could

result in revocation of his release.

       IT IS FURTHER ORDERED that the government’s petition to revoke defendant’s probation
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[doc #621] is denied and the petition is dismissed without prejudice.

       IT IS SO ORDERED this 27th day of February 2014.

                                                    /s/Susan Webber Wright

                                                    United States District Judge
